      Case
Name and     2:19-cv-01327-DSF-PLA Document
         address:                                                     28 Filed 05/01/19 Page 1 of 3 Page ID #:438
    Daniel Crump
    Wilmer Cutler Pickering Hale and Dorr LLP
    350 South Grand Avenue, Suite 2100
    Los Angeles, CA 90071


                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
UNITED STATES OF AMERICA
                                                          Plaintiff(s),                         2:19-CV-01327-DSF (PLAx)

                 v.
UP TO $28,174,145.52 IN HUNTINGTON NATIONAL BANK                               APPLICATION OF NON-RESIDENT ATTORNEY
ESCROW ACCOUNT NUMBER '7196; ET AL.                                                  TO APPEAR IN A SPECIFIC CASE
                                        Defendant(s),                                       PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
LEVIN, SHARON C.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
WILMER CUTLER PICKERING HALE AND DORR LLP
Firm/Agency Name
7 WORLD TRADE CENTER                                                      212-230-8804                          212-230-8888
250 GREENWICH STREET                                                      Telephone Number                      Fax Number
Street Address
NEW YORK, NY 10007                                                                    SHARON.LEVIN@WILMERHALE.COM
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
CHRISTOPHER "JOEY" MCFARLAND                                                 Plaintiff(s)    Defendant(s)   ✖   Other: Claimant
                                                                             Plaintiff(s)    Defendant(s)       Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                           Date of Admission            Active Member in Good Standing? (if not, please explain)
2nd Circuit Court of Appeals                                  3/19/2018              Yes
9th Circuit Court of Appeals                                 04/15/2019              Yes
D.C. Circuit Court of Appeals                                01/09/1989              Yes

G-64 (11/18)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                Page 1 of 3
        Case 2:19-cv-01327-DSF-PLA Document 28 Filed 05/01/19 Page 2 of 3 Page ID #:439
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date o(Application        Granted I Denied?
 14-CR-574                                       U.S. v. Devos Ltd. et al.                        4/12/2017                Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of California?            D     Yes     ~ No

If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?         D     Yes     D   No


                                                                                               Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.



           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
                professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
                and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
                maintains an office in the Central District of California for the practice oflaw, as local counsel pursuant to Local
                Rule 83-2.1.3.4.

                                                                       SHARON COHEN LEVIN
                                                                       Applicant's Name (please type or print)

                                                                        WJr------
                                                                      Applicant's Signature




G-64 (II/18)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of3
        Case 2:19-cv-01327-DSF-PLA Document 28 Filed 05/01/19 Page 3 of 3 Page ID #:440


SECTION III - DESIGNATION OF LOCAL COUNSEL
 DANIEL CRUMP
 Designee's Name (Last Name, First Nam e & Middle Initial)
 WILMER CUTLER PICKERING HALE AND DORR LLP
 Firm/Agency Name

 350 SOUTH GRAND AVENUE, SUITE 2100                                213-443-5377                          213-443-5400
                                                                   Telephone Number                      Fax Number

 Street Address                                                    DANIEL.CRUMP@WILMERHALE.COM
 LOS ANGELES, CA 90071                                             E-mail Address

 City, State, Zip Code                                             287290
                                                                   Designee's California State Bar N umber


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice oflaw.

                 Dated   £/f   /z.o (1                             _D_A_N_IE_L_C_R_U_M_P_   _ _ _ __ __               _




SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  ADDITIONAL BAR MEMBERSHIPS:
  U.S. District Court - SONY - Admitted 1/5/1991 - Currently active and in good standing
  U.S. District Court - EDNY - Admitted 9/15/2016 - Currently active and in good standing
  U.S. District Court - District of Columbia - Admitted 1/9/1989 - Not Active - Last renewal date was 7/1/2008
  Illinois State Bar - Admitted 11/7/1985 - Currently active and in good standing
  District of Columbia Bar - Admitted 6/24/1988 - Currently active and in good standing
  New York State Bar - Admitted 2/8/2016 - Currently active and in good standing




G-64 (11 / 18}            APPLICATION OF NON-RESIDENT ATIORNEY T O APPEAR IN A SPECIFIC CASE PRO HAC VICE                      Page 3 of 3
